 REV 09/18                          UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF TENNESSEE
                                                          ) Case No.: 3:19-cr-00211-7
                                                          )
      UNITED STATES OF AMERICA                              Judge: Waverly D. Crenshaw, Jr.
                                                          )
      V.
                                                          ) Hearing Date: January 31, 2023
                                                          ) Location: ✔ Nashville       Columbia                                   Cookeville

   MARCUS DECARLOS ODOM                                   )
                                                          ) Court Reporter: Lise Matthews
                                                          )
  (list each defendant appearing at hearing)                Court Interpreter:
                                                          )
                                                             CRIMINAL MINUTES
  Government Attorney(s): Juliet Aldridge

  Defense Attorney(s): Larry Arnkoff

  TRIAL PROCEEDINGS                                                           NON-TRIAL PROCEEDINGS
  1. Jury Trial*                                                               7. Initial Appearance/Arraignment
  2. Non-Jury Trial*                                                           8. Plea Hearing
  3. Sentencing Hearing Contested*                                             9. Sentencing Hearing                                            ✔
  4. Supervised Release Hearing-Contested*                                     10. Status conference
  5. Probation Revocation Hearing-Contested*                                   11. Pretrial Conference
  6. Other Evidentiary Hearing*                                                12. Supervised Release Revocation Hearing
     (Describe #6 in comments section below)                                   13. Probation Revocation Hearing
*For items 1-6, a Witness/Exhibit List is required
 and must be separately filed.                                                 14. Motion Hearing
                                                                               15. Other Proceeding
JURORS (complete on day 1 only):                                                        (Describe #15 in comments section below)

   1.                                                                             7.
   2.                                                                             8.
   3.                                                                             9.
   4.                                                                             10.
   5.                                                                             11.
   6.                                                                             12.
Alt 1.                                                                         Alt 2.
  COMMENTS:



    - Defendant sentenced to a term of imprisonment of 50 months, followed by a 3 year term of supervised release. No fine. $100.00
    Special Assessment.
    - Judgment to enter.



                                                                            Clerk of Court
   Total Time in Court:         1 hour 20 minutes
                                                                            by:    Kelly Parise


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